                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

MARK HAMMERVOLD,                                      )
                                                      )
         Plaintiff,                                   )
                                                      )
v.                                                    )       Civil No. 3:22-cv-1053
                                                      )       Judge Trauger
LARRY BECKWITH                                        )
                                                      )
         Defendant.                                   )


                                              ORDER

         Pursuant to the Status Report filed September 20, 2024 (Doc. No. 85), it is hereby

ORDERED that the trial scheduled for December 3, 2024 and the pretrial conference scheduled for

November 15, 2024 are being removed from the court’s calendar, to be reset, if appropriate, at a later

time.

         This case is hereby stayed and administratively closed subject to a motion to reopen

following the trial of the underlying state court case, presently scheduled to begin on July 14, 2025.

         It is so ORDERED.



                                                      ________________________________
                                                      ALETA A. TRAUGER
                                                      U.S. District Judge




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